EXH|B|T A

Case 1:14-CV-00231-CLC-WBC Document 1-2 Filed 07/24/14 Page 1 of 25 Page|D #: 9

 

SUMMONS lN CIV|L ACT|ON - CHANCERY COURT

 

STATE OF TENNES_SEE
CHANCERY COURT OF MARION COUNTY
AT JASPER

|N RE: ESTATE OF DMA E. GR|FF|TH )

Deceased

No,; ’7”7‘1'7

DEBORAH HOOFER

Plaintiff
v.

UNDERWRITERS AT LLO`(D’S

750 7"‘ Avenue, New York, New Yorl<
10019 and ATLANT|C SPEClALlTY
LlNES OF VlRGlNlA, LLC, 9020
Stony Point Parkway, Suite 450
Rlchmond, VA 23235

`JVVVVVV`IVVVVVVV`I

Defendants
SUMMONS

To the above named Defendant:

 
 

v Atlantic Speciality Lines of Vlrginia, LLC
750 7 Avenue la 9020 Stony Point Parkway, Suite 450
New York, New York 10019 Richmond, VA 23235

  
 

le. Julie Mix llllcPeak, Comrnissioner
Department of Commerce & insurance
500 James Robertson Parkway
Nashville, TN 37243-0565

You are hereby summoned and required to serve upon J. Harvey Cameron, Plaintiif's
attorney, whose<address is P.O. Box 759, Jasper. Tennessee 37347. an answer to the
Complaint which is herewith served upon you within thirty (30) days after service of this
summons upon 'you, exclusive of the day of service lf you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint

issued this IB`M' day of June, 2014, atm § 123 o'clocl< P.M.

W|TNESS, LEVOY GU DGER, Circuit Court Clerk of said Court, at office this the /B`é%ay '

of June. 2014. v
l x SE&M_@@ i/i/
LEVOY GUD - , Clerl< a d l\/laster

Plaintiff's address: c/o J. l-larvey Cameron, P.C., Post Oflice Box 759, Jasper, TN 37347.

 

 

 

 

Case1:14-CV-00231-CLC-WBC Document 1-2 Filed 07/24/14 PageZof 25 Pagelew#_;g;.QmmM

 

 

SUMMONS iN CIV|L ACTlON - CHANCERY COURT

 

STATE OF TENNESSEE
CHANCERY COURT OF |VlARlON COUNTY
AT JASPER

ll\i RE: ESTATE OF ON|A E. GR|FFITH )

Deceased

DEBORAH HooPER No.: 2 07 27
Plaintiff

V.

UNDERWRITERS AT LLOYD’S

750 7"‘ Avenue, New York, New York
10019 and ATLANT|C SPEC|AL|TY
LlNES OF VlRGlNlA, LLC, 9020
Stony Point Parl<way. Suite 450
Richmond, VA 23235

vVVVVV\/VVVVVVVVV

Defendants

SUMN|ONS

To the above named Defenclant:

Atlantic Speoiality Lines of Virginia, LLC
- 9020 Stony Point Parl<way, Suite 450
New York, New York 10019 Richmond, VA 23235

lVls. Julie lVlix McPeak, Commissioner
Department of Commerce & lnsurance
500 James Robertson Parkway
Nashville, TN 37243-0565

You are hereby summoned and required to serve upon J. l-larvey Cameron, Plaintiff’s
attorney, whose address is P.O. Box 759, Jasper, Tennessee 37347, an answer to the
Complaint which is herewith served upon you within thirty (30) days after service of this
summons upon you,r exclusive of the day of service. lf you fail to do so. judgment by
default will be taken against you for the relief demanded in the complaint

zi"` 41 ‘
issued this riggs `“? day ofJune, 2014, at .Q~/'W, o'clocl< P.Ni.

 

415
WlTNESS, LEVOY GUDGER, Cirouit Court Clrerl< of said Court, at office this the ,/% iday

Of JLlne, 2014. ,_`K ':"£§,;_..L ,, 1 A\///`T 7 z d,,; f
~“'i§; §§ §(:;5:§/ “,'{gfL/’£:,";i(z/§/> £/;2__,:»
LEVOY GUDQER, Clel'k EI'{GF |Vlanel'

Plaintiff's address: c/o J. Harvey Cameron, P.C., Post Office Box 759, Jasper, TN 37347.

 

Case 1:14-CV-00231-CLC-WBC Document 1-2 Filed 07/24/14 Page 3 of 25 Page|D #: 11

 

|N Tl~|E TWELFTH JUD|CIAL D|STR|CT OF TENNESSEE § §§
CHANCERY COURT OF MAR|ON COUNTY

 

|N RE: ESTATE OF OIVIA E. GR|FF|TH )

Deceased
DEBORAH HOOPER

Plaintiff
v. No.: 2 rif L//Y
UNDERWR|TERS AT LLOYD’S

750 7"‘ Avenue, New Yorl<, New Yorl<
10019 and ATLANTIC SPEClALlTY
LiNES Ol‘-' VlRGlN|A, LLC, 9020
Stony Point Pari.Way, Suite 450
Richmond, VA 23235'

VVVVVVVVVVVVVVVVV

Defendants
COllllPLAlNT
Comes the Plaintiff, DEBORAH HOOPER, as Administrator of the Estate of Oma
E. Grift"ith, the Co-Administrator, Eibert Grirhth. now being deceased, and individually sues
the Defendants, Underwriters at Lloyd’s and Atlantic Speciality Lines of Virglnia, LLC, and
for her cause of action would show unto the Court as follows: `
l
The Defendants caused to be issued on behalf of the Oma Grifnth Estate an
insurance policy covering the property ot the Deceased located at 7321 Highway 108,
Whitweli, l\/larior: County, Tennessee. A copy of the Declaration Page is attached as
Exhibit “1" to this Complaint and incorporated herein.
ll

On June 14, 2013, pursuant to Order of the Chancery Court of Nlarion County,

Case 1:14-Cv-00231-CLC-WBC Document 1-2 Filed 07/24/14 Page 4 of 25 Page|D #: 12

 

Tennessee the above subject property was sold at public auction and Gary l-lcoper
purchased same An Oder confirming the report of the Clerk and l\/laster was entered on
July16,2013.
|ll
On the 14"` of July, 2013. or on the morning of Ju|y 15, 2013, the home located on
the premises purchased by Gary l~looper and insured by the Defendants was totally
destroyed Gary l-looper, the successful bidder, at the sale requested that said property
be vested in his wife, Deborah D. Hooper, a copy of which Clerl< and l\/laster‘s Deed is
attached hereto as Exhibit “2" to this Complaint.
lV
Claims were duly filed through Russ Hood Agency, the agent who caused said
policy to be issued. To date, the Plaintiff has had no contact with any claim’s agent of the
Defendants nor any compensation for the loss although the amount of insurance was One
l-lundred Twenty Thousand Dollars ($120,000.00) for said loss. Deborah D. Hooper
individuallyjoins in this action due to the fact that said property and improvements thereon
had been sold to her husband and ultimately vested in her and although the insurance was
still in the name of Oma Grifhth’s Estate it had not been changed as of date of loss. The
Plaintiff avers that she is entitled to the benefits of coverage under the policy unless the
Court determines that said proceeds should be payable to the Estate of Oma Griftith.
V
The Plainritf in her respective capacities sues the Defendants and each of them in
the amount of One Hundred Twenty Thousand Dollars ($120,000.00) and prejudgment

interest

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 5 of 25 Page|D #: 13

 

SURETY FOR COSTS Respectfully submitted,

CAlVlERON & CAIV|ERON, P.C. CAMERON & CAMERON, P.C.
g 28 Courthouse Square, Suite 100
/ /] j / )r“ Post Office Box 759
By: ,, ~i~¢..w~¢-q ., ¢.,w'..~.,-v\ Jasper, TN 37347
\~ "‘ (423) 942-9975
’ E-mail: ihcam@aol.com

Byf \.*z ;)\~L.\./~v~¢~\ (Z£’wv\-W~\

,i’. Harvey c'a_`_"‘n'?eron, BPR#2465
Attorney for the Administrator

STATE OF TEN \lESSEE
COUNTY OF |Vlr`\R|ON

l. DEBORAH HOOPER, individually and as Administrator, being duly sworn
according to law. make oath that the statements made in the foregoing Complaint are true
in substance and fact, to the best of my knowledge information and belief.

iv . i { f
karth ¢m».r,,~r),c - 1
DEBORAH HOOPER, liidividuany and
Administrator

Sworn to a,,n`d subscribed before
me ./.~/' day ci June, 2014.

~ _§ lisa

-~,»r

 

, e_ ~"~<-»-\`~;‘~;,t ;;'JL' ;<. "’_-T"~"-"~¥'V*f\ OF
Notary Public § witnesses
NC)TARY

 

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 6 of 25 Page|D #: 14

 

 

l’rcvlous l’o|icy NiimbcrASZl\l\'Agi‘??¢iIi~O Cur'rcnt Policy i\'unibcr ASZO!VA¢!Q?J$'!

 

l’r'i»pi)i;cd F.`i`fei:livi: Dati.()}l! 5/?.013 Propusi.:d Expii~utioii I`)'.ltc 03/|5/20!¢! Pri>grnrni D\vi:lliitg Fii'e

both days ai 12:01 n.m. standard time
Name and address of Agcnl

Numc and address ol` this Insuri.~d
Russ Hood /\gency

()ma Grii‘i`iih l$si.~iic (`/u Dvb i‘loopcr & Elbcri Griiliih
uses mm s nn t rt»»i `m°" M“'" S"°°‘
` ‘p g' " lusper. `i`N 37347

Wlui\vcll. TN 37397~

 

 

(.`srrii:i~ Aulhoritv Ri:fci'cncc ii Ul'vi!l ii Pci~cenlagc
A\`Zfil/l.'i BO~'lO‘$l ZARBl |7 lOO ‘?~E:

' iirluiwi wis '.ii I,,iiiyd:

 

UZ‘I HW)' l’l`$ \\'hii\“:ll. m JTJ‘)’
Cov¢i'agc is provided where a premium or bimini liability is shown for the coverage in case of a loss under
Sccuori !. we cover only um pari of the loss over the deductible si;iicd

Prcmiscs Locatioii
t`avi.-i~ugcs anil l.liuit€ of l.l;thilit)r

 

 

 

 

 

 

 

 

Sgcg`oii l §rogcrgy Secg‘on ll liability

A; limiting S 120.000 l':`) Persuniil Liubiliiy 5 300.000

iii (>Lhi:r Su\iciurcs $ 12,000 F) Mcdicnl Puyrnciils lo Oi.hcrs $ 1.000

i" l'cisonal l’mpcriy 3 (chli Ol,q;t,,ml C\,.,.c,.,l“e,,.

[:'~.'; visa nl` l"sc 5 |'.’ iil}§’i

l)cdiicu`bii:.~.

51 \ ij /\P

"""‘“”°'_‘§ “"dw "‘*Flood is Exciuded“* '*‘*Quaite is Excluded*""
l nd°r“'rmng '.`°“"s iu__nlesi otherwise stated in this poiirv..'

|’i'eiliiuiii, 'I'axcs & Fccs Pr'i:mium Tax¢s Fecs
Secuuii l ~ Properiy S l 267~00 Surplus Liiics 'I`ux S 70.35 Poiicy Fcc S 100 00
St:i.lion ll » inability 3 $U 09

tile ii:iii‘r-vcragc.s 5 Gi}l}

Su|)totais 3 1,317.00 3 70.85 $ 100.00
(ii‘:mil 'l`otal 5 , 1.487.8§
Oihcr interests

l~`orms and Bii<lorsi:)iicuts iiooiw iir»oiii

ii¢'uiutis tamm iu)Nos ion/mri NW\ 3°3°¢°1/°3l N-""\ 1156 l°l'°‘l Asi. iozi rowan

ii mm timm t'i~ii)'/. ii)uoin N-"**\ Y>‘ill"f"~‘“* l»“" “"-" "”'°" ,\si metroon

A§j_ i~'\|)i-,\'\oi,i:.,i F.MFrDlA)¥) LM.A §0\‘) 10|1063 l.$\\‘ i~l(ll withl) A$l, i()!'zifrlllii

iii nr-€if>iiidu lDPSNioi/(m MO|.D (Oi/Utii NMA 1108 iUirOS) ,`sl wl_,wmm

».si ii.\iruiui,w. rain senatorch tSW illivi°w%) NMA whim/osi Asl ,(,z,m,,o¢,

Aii=.iono`i' N.\iA wisiowa) rem 1191 ici/osi ssi ioir.'iiiiv°) Ml m.,“,,,o.,,,

i.':~is\~.'ri amos Ni~iw'u>.i comm ms bimini/osi ituoimiiivim mm ._,%Hmm.)

 

‘ "i‘i l,¢'.‘;l' .'\' if .rl""-. ?\l.- Rt`.’iii.WA;` I'Rl.`.r~\]t?-\i liAi$ t\t.`!.,‘f RE’.`!°JV|I!.\A‘[ TH!-; .‘"..' ‘l X ’i ?ATI." ~*N T\E iNV\ii "r `»‘VFUJ\U!ZI‘.' C`CNSID|I.R£'D 50 IND Ar|l\ F'..AT
.`A:.‘ ‘Lla?* `r~i ARI .'v '! ?i'lU-t|¥?£\" U:FUDD ?O'.lCE$ AR£ S‘~.'BJE:'." TO THI.!~|!.'!!M"J.\$ b.'ltf'.l$* PRE.|»‘JU'|/. C`LA. 155 '.'»TATED!N THBPOL.'C‘.' AND ALL !'OL.lC.`Y
.t,»i;»iw.;'i "ii :rin'i: ,\,;;.i n 51 Y i'.AN.r:ri)"' H'mi itt A :tt£ sir i;i:~ ,-.'4.~&~, i)‘»t 'r¢: nr'i'zl`.'rr mims :ii.=` i".'.ii»."" V-'::J iil'.<?/iNCLt.:I-.'J F'LA'Y Wl`l'l| r-‘t;:
-_- a ...

\¢ai¢\

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 7 of 25 Page|D #: 15

 

Case1:14-Cv-OO231-CLC-WBC Document -2 Fi

 

. C-

Prcpared by and return to:

J. HARVEY CAMERON, P.C.

28 Courthoi.ise Square, Sulte 100
Jaspar, TN 37347; from information
supplied by the parties

 

 

 

 

 

 

 

 

 

l
SEND TAX BlLI.S TO: MAPIPARCEL NUMBER
Deborah D Hoopor Map 11
6565 Francis Spring Road Group
whriweii. m 37397 Poiiion or i=arcei 093.00 §
CLERK & MASTER'S DEED

WHEREAS. the Clerl< & lvlasterof Marlon County, Tennessee pursuant to judgment
entered in Cause #PR~72. in the Chancery Court of Marion County. Tennessee. styled ig
_R;e;__§staje of Dma E. Griffith, conducted a land sale on June 14. 2013. ;and,

WHEREAS, the Grantee herein was the highest and best bidder for the
consideration herein stated; and,

WHEREAS. said sale was confirmed by order of the Marion Counly Chancery Court
filed July 16, 2013. and entered in Minute Book 30, Pages 401. et seq., said Clerk &
ivlaster's Oft”ice; and.

WHEREAS, the purchaser at said sale being the grantee has requested the Clerk
& Master to execute and deliver lo him a deed for said property

NOW, THEREFORE, lN CONS|DERAT|ON of the sum of Five Thousand Do|lars
($5,000 00) cash in hand paid, the receipt of which is hereby acknowledged l, LEVOY
GUDGER. C|erk & Master of the Chancery Court of Marion County, Tennessee. by virtue
of the power and authority conferred upon me, do hereby transfer and convey unto

DEBORAH D. HOOPER.
her heirs and assigns the following described real estate located in the Third Civil Distncl
oi' Marion County. Tennessee to-wit:

TRACT_ ONE:

Beginning at an iron pin in the west right-ol-way tins of Stale Highway 108

the Southeast corner of lands of J. C. Ritchie as described in deed of record

in Deed Elook 7-L. Pages 380. et seq.. in the Regi`sters Oilice of i‘vlarion

County, Tennessee; thence along the west right~of-way ol State Highway

108 South 54 deg. 50 min. 00 sec. East 188.57 feet to an iron pin'. thence
South 48 deg 12 min. 41 sec. West 115`06 feet lo a power pole located in

.j.

i')"i

Book 451 Pa 9920 .

wl .

i
i
x

led 07/24/14 Page 8 of 25 Page|D #: 16

 

 

the Eest right-oi»way ol Griilith Church Road; thence along the East right»ol-
way of Griiiiih Church Road North 35 deg. 56 min.y 05 sec. West 154,45 feet
to a point; thence along a curve to the right having an bearing of North 19
dog 55 rnin 41 sec. Weet 55.73 feet, an_arc of 56.46 feet and radius ol
101 ,05 feet to an iron pin the samebeing the Southweei corner of lands oi
Ji C. Ritchie; thence along Ritchie's South line North 79 deg. 15 min, 00 seen

East 42.01 feet more or less to the Point
more or less.

TRACT TWO:

of Beginning containing 0.32 acres

Beginning at an iron pin in the East right-of~way of Grii‘iith Church Road the
same being the Northwest corner of lands of Claylon L. Woriey of record in
Deed Book 6-P. Pages 297, et seq., in the Register‘s Office oi Marion
County,.Tennessee; thence along the east right-oi-way line of Griffith Church
Road North 35 deg. 56 min. 05 sec. West 55.52 feet to a power pole the

same being the Southwesl corner of

Tract Number Two hereinabove

described; thence along the South boundary line of Tract Number Two North

48 deg. 12 min. 41 sec. East 115.06ieet

to an iron pin the same being in the

Wosl right-of~way line of State Highway 108; thence along the West right-ol~
way line of State Highway 108, Souih 54 deg. 50 mln. 00 sec. East 93.65
feet to an iron pin the same being the Northeast corner of lands of Clayton
L. Woriey; thence along Worley`s North_ boundary line South 40 deg, 21 min,
13 sec. West 152.00 feet more or less to the Point of Begirining containing

0.31 acres more or less.

PR|OR DEED REFERENCE: Deed Book 6-P. Pages 296. et seq.. in the
Register's Ofiice of Marion County, Tennessee.

TO HAVE AND TO HOLD said real

estate with all the hereditaments and

appurtenances thereto. to the said Grantee. her heirs and assigns. in fee simple_ forever

This conveyance is made in as full and ample a manner as the said Clerk & Master can

convey under authority of law and said iudgrnent. entered in this cause. but not further or

othenivisek
iN WlTNESS WHEREOF. l have hereu
+
Master, on this the_ l g day of Juiy. 2013.

nto subscribed my name as said Clerk &

 

Boolt 451 Page 92

Case 1:14-CV-00231-CLC-WBC Document 1

-2 1l:iled 07/24/14 Page 9 of 25 Page|D #: 17

 

 

STATE OF TENNESSEE
COUNTY OF MARION

On this the lfé day of Juty, 2013. before me personally appeared Levoy Gudge.-_
Clerk & l'viaster. to me known to be or proved to me on the basis ot satisfactory evidence
to be the persons described in and who executed the foregoing instrumen .
acknowledged that he executed the same s his free~act and deed.

i..‘/

A.--‘ L 1‘ ~
Notary Pubiic

   
   
 

iviy commission expires: _ v 7"/0 '/b

 

CONS|DERAT|ON AFF|DAV|T

or we. hereby swear or affirm that the actual consideration for this transfer. or value oi the property or
interest in property transferredh whichever is greater is 55.000 00. which amount is equal to or greater than the
amount which the property or interest in property transferred would command at a fair and voluntary ease

  
   

m """’¢' ____ALZ’_"_~L'.‘-_'_t‘_~.-

¢”" '-. ` ‘
$ui.iscr\bed and sworn to belorr.~ me this 243 '» ii ' ‘
f ul .2()1 ‘ ~:i', 11

 

Nori\iiy`#uoiir:r»¢ negro tit `

My t.`ésn-»~.~'.i:ur.,linrm \ \_1 20|5 l q »r t

 

 

 

i<'».

BK/l’o: 451/920-922
1 3002783

3 m .At. » CLERK & MASTER$ UEED
SANDHA olili.'i-t lamb emma it tit arm
VALUE 50€0 00
TRT_`_ voi;-i'irix 0 oo
TR.AN$FER TAX _x * 1a 50
CoRbith F§E _ ' 15 00

motive res u.ou

r» 'E ~" """"‘_i_:' aid

Q_l_qs?en's rec '° '“iU‘ n
§ J

tom Auioimr __
amc or tennessee union comm

WlNFRED HAGGARD

“Et‘|‘!!£¢| i'l §¥i§l E“r

llllllllllllllllllllllllllll

.L

ease 1-14-cv-00231-Ci_C-WBC Do§f'i'iii‘§nip‘i°-°zmi=iled 07/24/14 Page 10 of 25 PageiD #: 13

 

2044-orion ii=ze . 423-942-0291 >=¢. P 1/4
suiviivions in oiviL Acrioi\i - oliAnoizRY count ‘

 

 

STATE OF TENNESSEE
CHANCERY COURT DF MAR|ON COUNT`Y
AT JASPER

in Ri-;: ssr/irs oi= oiviA i.=.. onii=i=i'rii i
Deoessed

No.: 747/'/.7

DEBGRAH HOOPER

 

Piaintift
v.

UNDERWRtTERS AT LLOYD’S

750 7th Avenue, New York, NewYork
10019 end ATLANT|C SPEClALlTY .
LINES DF VIRGINIA. LLC, 9020
Stony Point Parkway, Suite 450-
Rici'irnond, VA 23235

`/v*`/`/VVVVVV`J`VLIVVV

Defendants

summons
To the above named Defendant:
underwriters at Llode Ai_isniie _speiiiaiiiy i_iiies or virginia, i_i_o
750 rt Averiue ' 9020 siony Point ni§rl<wsy, suite 450
t New ‘i’orir._, _New ¥ork 10019 Riohmonci, VA 23%5

Ms. Juiie Mix McF'eak, Commissiorier
Department of Comnieroe & insurance
500 James Roberlson Pnrkway
Nashvilie, TN 37243-0565

You are hereby summoned and required'to serve upon J. Hsii'vey Camerori, Pisintiti’s
attomey, whose.eiddress is P.CD. Box 759. Jasper, Tennessee 37347, en answer to the
Complaint which is herewith served upon you within thirty (30) days etter service of this
summons upon "you, exclusive of the day of service if you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint '

t - -- .
issued this Z<BM‘doy of June, 2014, at S/~DD o’oiooi< P.lvl.

W|TNESS, LEVOY GUDGER, Circuit Court Clerk Of said Court, at office this the /§Mday

of June, 2'014. .
t winn o i/i./
- LEVOY GU@GER, Glerl<"'snd iVlsister

Pieintitf's sddress: o/o J. Hsrvey Cemeron, P.C., Post Oftioe Box 759, Jssper, TN 37347.

' - . 11 of 25 Pa elD'#: 19
Case I'M'C°'GGESE'S'EG °“Be BSGH"'G"H g"E‘Led'gt)]§Z/%/éljlzoqigeiz=u7i=n <s ~0Li=00)

2014-07.-08 11:26 . - 423-942-0291 >' P 2/4

Received this day of ,

(This summons is issued pursuant to Rule 4 of the Tennessee Ruies of Civil Procedure).

 

Sheriff-Deputy Sheriff

' iili’=i~,‘t-ra.,." ` ' 1

_, ... ..-,_ _, ,._,.l....', v . ..

    

SENDEH: cDMFLETE THIS SECrthr 5 tro/waters rH/$ sEcTro/\l olv oELli/Em'

l ¢ is 1, `2, ana `3. Also complete

       

 

ltem4'raastrre ernst 1 o l ' A gab-hem l ' v 2014

l s ivery s ss red. ~ l;| Agm …. ’ ‘

l Print your maine and address on the reverse x %§"% /C§.`Jz ..U !U‘tl$ SummOi'iS TO eth l'
somatwacanretummscardtoyou. .B_ Md'm°° g a

 

 

n Aos¢h this cardwth beckde maupiscs, l why ' '"“°' °' °f '“'°
crop disnentifspscepsmrits. v " - __m ' l'i?
11 imth m l , 1 .. , _o.sdaiveysooesdmsemnsmiem i:lvis` '

t lfYES.emordsllveryaddLess-below;, EiNo
. d ance because

, l
- r. .~...,q¢,,t.

Cortii`tcd' Dol.\tm Dcceipt Dequostad.es

 

 

 

 

 

 

 

 

 

Undcrwriters at Llode - _
750 "i“‘ Avcrruo ` s Sheriff
3. SsrvlceTypa
New York, NY 10019 _ %oermes usi m press Msu l -
Heg|rr.l€rod Rsturn Hsoeipt millmanle _._..._._._Deputy Shenff
U insured Melt G.Q.D. f ~ '
4. seemed oeltvaiy'i reimer-sep g yes ‘ ,
l" 2` md . \ . . - ..~. c "
` meet ' `?DJ»L E‘l'?|] UE|_|JEI H&E]i UDEL
\E\S Form 3811. Febmary 2004 commits Remm accept 102595.¢24».154°3

-¢.»~ -'¢ ¢_ -»~»_~ ___ .._.. `

'l'-ennessee law provides a fourthousand dollar ($4,000) personal property exemption from
execution_lor seizure to satisfy a judgment if a judgment should be entered against you
in this action and you wish to claim property as exempt you must tile a written list, under
oath, of the items you wish to claim as exempt with the clerk of this court The list may be
filed at any time and may be changed by you thereafter as necessary; however. unless `rt
is tiled before the judgment becomes final,,it will not be effective soto any execution or
garnishment issued in the liling of the list. Certain items are automatically exempt bylaw
and do not need to be listed; these include items of necessary wearing apparel (ciothing)
for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family §portraits, the family Bible, and school books. Shou|d any cf these items be
seized you would have the right to recover them. lf you do not understand you exemption
right or how to exercise it, you may Wish to seek the counsel of a |awyer. (T.C.A., 26-2~
114). _; -

Pa e|D #: 20

`.__ _ '07/4P391225
Case 1.14 cv 00231 CLC WBC DocumentlZ Fl|ed 0%%81 Q PM <G _OLHOO)

of
/20'|Ll 12:Ll7

2014-07'08 11:26 . 423-942-0291 e‘ P 3/4

SUMMONS lN ClVlL ACTiON - CHANCERY COURT

 

 

STATE OF TENNESSEE
CHANCERY COURT GF MARION C'OUNTY
AT JASPER

l-N REZ ESTATE GF OMA E. GRIFF|TH

‘ Deceased

No..' /7’7 47 l

 

DEBORAH HOOPER

Plaintiff
v.

UNDERWR|TERS AT LLOYD’S

750 7"' Avenue, New York, New York
10019 and ATLANTIC SPEClALlTY
LrNes oF leslNiA, LLC, oozo
Stony Point Parkway, Suite 450

)

)

)

)

)

)

)

)

)

l

)

)

l

Richmond, VA 23235 )
- )

)

Defendants . _.,»
" ' summons `
To the above named Defendant:
Undenlvriters at Lloyds _ Atlantic Speciality hines of Virginia, LLC
750 7“‘ Avenue 9020 Stony Point P‘;kway, Suite 450

New York, New York 10019 Richmond, VA 232

Ms. Julie Mix McPeak, Ccmmissioner
Departm-ent of Commerce & insurance
500 James Robertson Parkway
Nashville, TN 37243-0565

You are hereby summoned and required to serve upon J. l-|arvey Cameron, Plaintirf's

attomey, whose address is P.O. Box 759, Jasper, Tennessee 37347, an answer to the

Complaint which is herewith served upon you within thirty (30) days after service of this

summons upon iycu, exclusive cf the day of service if you fail to do so, judgment by
sss ,`deefault will be taken against you for the relief demanded in the complaint

issuedthis /§§"L“!Losy or.lune, 2014, at 590 sewell P.M.

l WlTNEBS, LEVOY GUDGER, Circuit Court Clerk of said Court, at office this the IBM'day
of June, 2014. ,. LJ

~ LEVOY GU ER, Cler and Nlaster

Plaintiff’s add!ress: c/o J. H.arvey Cameron, P.C., Post thce Box 759, Jasper, TN 37347.

‘- ' 724/14 Paelsorzs Pa elD#: 21
CaS ' ' ' Oo§/olrl/zo'mgj 12=Ll7PM co r-ou=oo)

 

 

2014-07~08 11:27 . 423-942-029‘| a. , P 4/4

Received this day of

 

(“l'his summons is issued pursuant to Rule 4 of the Tennessee Rules of Civi| Procedure),

 

_¢F __ . “ "'"".;;'i§;;:`_"”"“"*"+'j~“j'" "'“;- ' - ' ' . l . . ShB.l`.'iff_:-Deputy Shel'l`l:f

~‘ NDEF¥! CC‘li-'JPLETE THIS SECT{ON

 
   

 

       

   
 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_.i CDrr:t$ii;-lts‘rcs;t;f:£`sod a.Alsocompleto` " ' ' s us 4
*ltem§.sr :~:~1 w_“l;iellverylsdeslrad`. m . ' -
l';l":r,lrtirt1 gsa name;;nd aggregan the reverse ` " \ ' ' ' .- Agem 2014
loan umt so toyou.. . . " ’ ’
larsehtwscemoui hamm ‘ B‘”~ °db"‘°”””°'”“'”d - ' `
Mm me,fmmspm:p:mw- gmgl_|p,m,' __ ft _ g ,_, _'lthrs summons together
1fmmbmmeamwr' 'Qedwwwswmsdmmmwmmm- am
e_ _ …_“__ _' _ __ m |TYES¢e"¢Brdsliveryaddressbelow: EiNo '_------_---_-_..
.£lfertiticd Dctum Dcccipt i.i?cqucstcd n .,
At.lantic epsciality Lincs of Vlrglnia LLC ;` __ lance because
9020 dtony Doint Parkwoy, suite-450 ;
clemons vA cases iE"és/\e as 1 .
ij caused usn E;l essential ShEF"ff
. . m msul;m;n aec mesa rcr wiseman
', l 4_ msqu DGWMM;W mm _______Depuiy$henfi
24 welsh ..inl.|,..', .. ..: ..,.. . 1 . . . . .. .
esa assessed cons rises nose |. \
“."'\PS mm 381-li Féhmz§¥’z°°‘$ v " ~ l D°""M° mm F‘€WIM j 102595~02+.4:1540;
TD THE 'DEFENDANT(S)!

Tennessee law provides a fourthousand dollar ($4,000) personal property exemption from

_ execution or seizure to satisfy a judgment if a judgment should be entered against you

in this action and you wish to claim property as exempt you must file a written list, under

loa'ch, of the items you wish to claim as exempt with the clerk cf this court. The list may be

filed at any time and may be changed by you thereafter as necessary; however, unless it

is filed before the judgment becomes final, it will not be effective as to any execution or

garnishment issued in the filing of the list. Certain items are automatically exempt by law

and do not need'to be listed; these include items of necessary wearing apparel (clothing)

for yourself and your famin and trunks or other receptacles necessarth contain such

apparel, family p_ortraits, the family Bible, and school books. Should any of these items be

seized you would have the right to recover them. if you do not understand you exemption

right cr how to exercise it, you may wish to seek the counsel of a lawyer. (T.C.A., 26-2-
114). `

ge 14 of 25 Pa e|D #: 22

- -' - i' - B D c mem 1-2 Filed 07/24/14 Pa
Casel.14cv00231 CLCW C ou 0 ,m 12:L}7PM (G _OLHOO)

07/ 8/20

 

STATE 0F TENNESSEE
Department of commerce and lnsuram:o
500 James Robertson Parkway
Nashvllle, TN 37243-1 131 _
PH - 615.532.5260, FX - 615.532.278'8
Jerald.E.Gllbert@tn.gov

June 24, 2014_ ,

Lloyd's, underwriters At Londorr ‘ certirred Marr

25 West 53Rd Street, 14Th Floor - Return Receipt Reauested
New York, N¥ 10019 . 7012 3460 0002 8943 8580

NA|C # 180019 Cashier # 16'135

Re: Estate Of Oma E Griffith V. Lloyd'S, Underwriters At London

booker # 7747

To Whom lt May Concern:

Pursuant to Tennessee Co'de Annotated' l§-546-2-5"04 o`r § 56-2-506`, the Department of
Commerce and insurance was served ';lune 24, 2014. on your behalf in connection with the
above-styled proceeding Documentation relating to the subject is herein enclosed

Jerald E. Gilbert
Designated Agent

Service of Procsss _ ' l
Enclosures h ‘ . D §©EUVE

cc: Chancery Court Clerk t ‘ - " .» ~
Marion County JUL 07 2914
P O Box 789
Jasper, Tn 37347

 

 

 

 

 

 

 

 

 

JOsEPi-¥r r2 sunset

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 15 of 25 PagelD #: 23

 

.,.:.,

Received this ' day of' . '

(This summons is issued pursuant to Rule 4 of the Tennessee _Ruies 'of Civii Procedure).

 

sheriff-Deputy sheriri y - .
"' i _;4l ‘_, RETURN ON SERV_iCE OF SUMMONS
l hereby certify and return that on the ' day of . 2014,

i: .'served this summons together
with the complaint as follows:

 

 

failed to served this‘summons.within 30 days after_its issuance because _ f

 

Sheriff

 

' Deputy Sheriff

NOT|CE
TO Tl-lE -DEFENDANT(S):

Ten nessee law provides a fourthousand dollar ($4,000) personal property exemption from
execution or seizure to satisfy a judgment if a judgment should be entered against you
in this action and you Wish to claim property as exempt, you must file a written list, under
oath, of the items you wish to claim as exempt with the clerk of this court. The list may be
filed at any time and may be changed by you thereafter as necessary; however, unless it
is fried before the judgment becomes fina|, it will not be effective as to any execution or
garnishment issued in the filing of the list. Cert'ain items are automatically exempt by law

and do not need to be listed; these include items of necessary wearing apparel (clothing)
‘_ for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portrai`_ts the family Bible, and school books. Should any of these items be

seized you wouid have the right to recover them. if you do not understand you exemption
right or how to exercise it, you may wish to seek the counsel of a lawyer. (T. C. A., 26~2-

114).

.Case 1:14-CV-OO_231-CLC-WBC Docurnent _1-2 Fi|e_duQZ/24/14 Page 16 of 25 PagelD #: 24

 

. l .

SUMMONS |N C|V|L ACT|ON - CHANCERY'COURT

 

STATE OFl TENNESSEE ,
CHANCERY COURT OF li\/lAR|ON COUNTY_
AT JASPER

ii\i R.E: .EsTATE oF oMA E. eRii=Fn'i-i )`

Deceased

oEBoRAH i~iooPER Na.: 771/17
Piaintiff

V. :

uNDERwRiTERs AT LLoYo's

_ 750 7th Avenue, New York, New York
' 10019 and ATLANTICSPEC|AL|T¥
LiNES OF ViRGINlA, LLC, 9020
Stony Point Parkway, Suite 450
Richmond, vA 23235

VvV`/Vv`/VvVVV\/VVV

Defendants

SUMMONS
To the above named Defendant:
Underwriters at Lloyds ` Atiantic Speciality Lines of Virginia, LLC
750 7"‘ Avenue 9020 Stony Point Parkway, Suite 450
New York, New York 10019 Richmond, VA 23235

 

Qiif|'s:_ Juiie Mix liflcPeak, Commissione j`
Department of Commerce &1nsurance
500 James Robertson Parkway
Nashvilie, TN` 37243-0565

 

You are hereby summoned and required to serve upon J. Harvey Cameron, Plaintiff's
attorney, whose. address is P. O. Box 759, Jasper._ Tennessee 37347. an answer to the
Complaint which is herewith served upon you within thirty (30) days after service of this
summons upon ’,'you exclusive of the day of service. if you fail to do so, judgment by
default will be taken against you for the relief demanded in the complaint

issued this / BJ'A’dayorJune, 2014, at g -OD o’ciock i=.ivi.l

WiTNESS, LEVOY GUDGER, Circuit Court Clerk of said Court, at oche this the f 31 5day

ofJune,2014.' , wm gi, z V_L/

LEVOY GUWER, Clerk §hd l\/|aster

P|aintiff's address: c/o J. Harvey Cameron, P.C., Post Office Box 759, Jasper, TN 37347.

 

Case 1:14-Cv-OO231-C|__C-WBC Document 1-2 Filed 07/24/14 Page 17 of 25 Page|D #: 25

 

' swan
‘ HRs.

|N TH'E TWELFTH JUD|C|AL DlSTRlCT OF TENNESSEE JUN 1a 3'12014

CHANCERY COURT OF N|AR!ON COUNTY
'- VOYGuDGER

iN RE: ESTATE oF 0MA E. GRlFFlTi-i ) CLERK&MASTER
Deceased
` nEeoRAi-i i-iooPER
Piaintiff
v. - No.: 7"7£} 2 l
UNDE'RWR|TERS AT LLO\'D’S

750 7"" Avenue, New York,-_New York .
4 _10019 and ATLANTiC SPEClALlTY "
LlNES OF VlRGlNlA, LLC, 9020
Stony Point Parkway, Suite 450
Richmond, VA 23235

VVVVV`/VVVV`/vvvvvv

Defendants
COMPLAlNT
Comes the P|aintiff, DEBORAH HOOFER, as Administrator of the Estate of Oma
E. Griffith, the Co-Administrator, Eibert Griffith, now being deceased, and individually sues
the Defendants, l,Underwriters at Lloyd’s and Atiantic Speciaiity Lines of Virginia, LLC, and
for her cause of~acticn would show unto the Court as follows:
i
The Defendants caused to be issued on behalf of the Oma Griffith Estate an -
insurance policy covering the property of the Deceased located at 732'| Highway 108,
Whitwe||, N|ariori County, Tennessee. A copy of the Deciaration Page is attached as
Exhibit ‘51" to thisl Complaint and incorporated herein.
l li

On June 14, 2013, pursuant to Order of the Chancery Court of Marion County,

1

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 18 of 25 Page|D #: 26

 

Tennessee the above subject property was sold at public auction and Gary Hooper
` purchased same. An Oder confirming the report of the Clerk and lillaster was entered on
July16, 2013.
lll
On the 14th of 'Ju|y, 2013, or on the morning of July 15, 2013, the home located on
the premises purchased by Gary Hooper and insured by the Defendants Was totally
destroyedl Gary Hooper, the successful bidder, at the sale requested that said properly
be vested in his. wife Deborah D. Hooper, a copy of which Clerk and liflaster’s Deed is
attached hereto as Exhibit “2" to this Complaint.
iV
Claims were duly filed through Russ Hood Agency, the agent who caused said
policy to be issued To date, the Piaintiff has had no contact with any claim's agent of the
Defendants nor any compensation for the loss although the amount of insurance was One
Hundred Twenty Thousand Dollars ($120,000.00) for said loss. Deborah D. Hooper
individually joins.;in this action due to the fact that said property and improvements thereon
had been sold to her husband and ultimately vested in her and although the insurance was
still in the name "of Oma Griffith’s Estate it had not been changed as of date of loss. The
Piaintiff avers that she.is entitled to the benefits of coverage under the policy unless the
Court determines that said proceeds should be payable to the Estate of Oma Griffith.
V
The Plain'tiff in her respective capacities sues the Defendants and each of them in
the amount of One Hunldred Twenty Thousand Doiiars ($120,000.00) and pre-judgment

interest

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 19 of 25 PagelD #: 27

 

suRETY FoR costs Respearuiiy submitted,

CAli`flERON & CAMERON, P.C. CAMERON & CAN|ERON, P.C.`
28 Courthouse Square, Suite 100

y f ; / ); Post~ Olfice Box 759
6 Jasper, TN 37347
/ /”~“-‘ (423) 942-'9975
E-mail: `hc com

By: failure &MM

,,/. Harvey Cameron, BPR#2465
Attorney for the Administrator

STATE OF TEN&'\|ESSEE
COUNTY OF MAR|ON

l, DEBORAH HOOPER, individually and as Administrator, being duly sworn
according to iaw_. make oath that the statements made in the foregoing Complaint are true
in substance and fact, to the best of my knowledge information and belief.

DEBORAH HooPER, iiidividuaiiy and

Administrator

 

Sworn to jag`d subscribed before
me Z,? day of.june, 2014.

  
 
 

 

   

TENNESSEE
NOTARY

  

Case 1:14-Cv-OO231-CLC-WBC Document 1¥2 Filed 07/24/14 Page 20 of 25 PagelD #: 28

 

 

`Pri.lvious nancy Numb¢rAszoivAaoras-o

Pr'oposed Effectl ve Datd)$/ 15l2013 Pro posed Explrutlou Date 03/15/2014

both days al 12:01 a.m. standard time
N amc and address ol‘ the insured

Oma Griffith Estate C/o Deb Hooper & Eibert Griffith

6565 Francis Springs Rci

Wh.it\vell, TN 37397_

Current Pollcy Numbex‘ ASZOIVA49743-l

l’rogramz chlllng Fire _

Name and address ol` Agent

Russ Hood Agency
4139 Main Slreet

.laspcr. ‘I`N 37 347

 

Cerrler
l..'rulerwrii.eis at Lloyd’s

§ uthorlty Rcf`crcncc # UMR ff Percentage
ASZOl/lS BG¢$OSIZARBH? lDO%

 

Premises Locah'on

7le Hwy 108 Wiiit\vcll. TN 37397

Cover-agcs and Lfmils of` Llability Covcragc is provided where a premium or limit of liability is shown for i.hc coverage I.n case cf a loss under
Section l, we cover only mm panel ute loss over the deductible stiucd.

 

 

 

 

 

 

 

 

Se l crt 3 ll l b l:
Al chl ling $ 120.000 E) Personal Liability 3 300,000
B) O|her Slmcturcs $ 12,000 F~) Medical Paymenls to Oihers 5 l,OOO
Ci Pei'sonal Propcrty S (Excl) gguona! Cm,emges
Di l.oss of Use §§ |E.O(Jl,)
l)cd uci:l blcs
§§ l,OOO' AP
(7°"‘"“°“5 and *“‘Flood is Excluded""" "'*Quake is lilrrcluded*"*c
U"d¢"“""d"g N°*°‘ timing otherwise auin in this goucy.)
Premium, 'I‘u.xes & Fees Premium 'I‘uxes Fees
Secuon l - Properly $ 1.267.00 Surptus L.Sncs ’I`ax $ 70.85 Policy Fce . $ 100.00
Section ll ~ Liability 5 50.00
Opi.ional Coveragcs S 0.00
Sublota|s $ !,317.00 $ 70.85 $ 100.00
Grand 'I`o,tn.l $ l 1,487.8§
()lher lntercsts f
Forms and Eudor~scmems go mpg umw
_ l'LFORMS lblfDOl RDNGS (0\/08) N`MA 2923 (0|/08) NMA 1250 (01/08) ASL lam (gl/gg)
r’LiNFo connor cMi)z ici/csi N`MA 2340 tollth ma scm for/osi ASL ms comm
/isi. Fu) ex winn supreme LMA SOW tul/mi LSW 1001 ¢°Wsl AsL loss mm n
r»i.nr-:c connor LoPsN roi/os> MoLo ici/osi , NMA nos roi)os) ASL wm,,,,os,
Asi. cL¢uM roi/o<)> NMA arroz(orios) st nash rci/osi NMA 1331 rci/osi ASL ms comm
Ai.a ro_i/o¢u NMA 2913¢01)08) NMA ir9i rci/osi ASL 1002111199> ASL m, m|,o,)
uNswi=i. rci/osi NMA 464 for/osi LMA sozo ici/osi ito nom (io/oo) NMA mg mgm

 

"l'L F.ASE NoTlZ OHCE 'l'HP. R.FJ~|EWAL FRE.NUUM HAS BPZEN R.ECFJVED_ A'l‘ THH 1‘0 BOX STATF.D CN TlG |NVO!CB. COVERAQE¢S CONS]DP_'RED BOU ND AND FM?
L`ANC ELL»\T\CNS ARE NUT P'ERM]TI'ED EUUND FOL[C`ES AR.E SUB!ECT TO THB MIMMUM £ARNED ?REM|UM CLAUSE BTATED I’N Tl'E FOUC"I' AND A.L`L FOUCY
»\ND lN$lPEC'l`|CN FF!'S AR.E l"iJ|.L¥ FARNED. " 'lN 'l'HE C.‘A$E ACHECK iii RE‘FUR.‘€ED FOR ‘.'N'JLH-’HCIENT FUNDS. l'l£l". \’QL|CY W|l,l. BE CANCELLE.D FLAT \VITH NU

'.“ f` Vi'l K_»\U|'. A}-`l"f'lltl\l".“ "'

Case 1:14-Cv-OO231-CLC-WBC Document 1-2 Filed 07/24/14 Page 21 of 25 PagelD #: 29

 

 

Prepared by and return to:

J. HARVE¥ CAMERON, P.C.

28 Courthouse Square, Suite 100
Jaspar. TN 37347; from information
supplied by the partles.

 

 

 

 

 

 

 

 

SEND TAX BlLLS TO: MAPIPARCEL NUMBER

Deborah D. Hooper Map 11

6585 Francls Spring Road Group

Whltwalt. TN 37397 Portlon of Parcel 093.00
CLERK & MASTER’S DEED

WHEREAS. the Clerk & Masterof Marion County, Tennessae pursuant to judgment
entered in' Causs #PR~?Z. in the Chancery Court of Marion County. Tennessee, styled in
Be; Estate Qf Qm§ El griffith conducted a land sale on Juna 14, 2013. ; and,

WHEREAS. the Grantee herein was the highest and best bidder for the

l consideration herein stated: and, n

WHEREAS, said sale was confirmed by order oftha Marion County Chancery Court
filed July 16. 2013. and entered in Mlnute Book 30, Pages 401, et seq., said Clerk &
Master's Office} and. t t

WHEREAS, the purchaser at said sale being the grantee has requested the Clerk
& Master to execute and deliver to him a deed for said property.

NOW. THEREFDRE, lN CONS|DERAT|ON of the sum of Five Thousand Dollars
($5.000.00) cash in hand pald, the receipt of which is hereby acknowledged. l, LEVOY
GUDGER, Clerk & Master of the Chancery Court of Madon County. Tennessee. by virtue
of the power and authority conferred upon me, do hereby transfer'and convey unto

DEBoRAH o. HooPEFt,
her heirs and assigns, the following described real estate located in the Thlrd Civi| Distrlct
j of Marion County, Tenn_essee to~wlt:

TRACT GNE:

Beginning at an iron pin in the west right-of-way line of State Highway 100

the Southeast corner of lands of J. C. Ritchie as described in deed of record

in Deed Book 7-L. Pagas 380. et seq., in the Register's Office of Marion

County, Tennessee; thence along the west right-of~way of State nghway

108 South 54 de|. 50 mln. 00 seo. East 188.57 feet to an iron pln; thence
South 48 deg. 12 min. 41 sec. West 115.06 feet to a power pole located in

-1-

Exhibit "?"

\
t

ease 1:14-cv-00231-CLC-WBC DoBé’i’i"rfi"’énPf‘T-’§° i=iied 07/24/14 Page 22 or 25 PageiD #: 30

 

 

' 0 %

the East rightef-way of Griffith Church Road; thence along the East right-ol-
way of Griffith Church Road North 35 deg. 56 mln. 05 sec. West 154.45 feet
to a point; thence along a curve to the right having an bearing of North 19
deg. 55 mln. 41 sec. West 55.73 feet, an erc of 56.46 feet and radius of
101 .05 feet to an iron pin the same being the Southwest corner of lands of
J. C. Ritchie; thence along Ritchie’s South line North 79 deg. 15 min. 00 sec.
East 42.01 feet more or less to the Point of Beginning containing 0.32 acres
more or less. _

TRACT TWO:

Beginning at an iron pin |n the East right~cf~way of Griffith Church Roed the
same being the Northwest corner attends of Clayton L. Worley of record in
Deed Book S~P, Pages 297. et seq., in the Reglster’s Oftice of Marion
County, Tennessee; thence along the east rlght-of-way line of Griffith Church
Road North 35 deg. 56 mln. 05 aec. West 55.52 feet to a power pole the
same being the Southwest comer of Tract Number Two hereinabove
described; thence along the South boundary line of Tract Number Two North
48 deg. 12 min. 41 sec. East 1 15.06 feet to an iron pin the same being in the
West rlght-of-wey line of State Highway 108; thence along the West right-of~
way line of State Highway 108, South 54 deg. 50 min. 00 sec. East 93.65
feet to an iron pin the same being the Northeest corner of lands of Clayton
L. Worley; thence along Worley‘s North boundary line Seuth 40 deg. 21 min.
13 sec. West 152.00 feet more or less to the Point of Beginning containing
0.31 acres more or lesa.

PRIDR DEED REFERENCE: Deed Book S-P, Pages 296, et seq.. in the
R_egister's Office of Marlon County. Tennessee. '

TO HAVE AND TO HOLD said real estate with all the hereditaments and

appurtenances thereto, to the said Grantee, her heirs and assigns in fee simp|e, forever

Th'ie conveyance is made in as full and ample a manner as the said Clerk & Master can

convey under authority of law and said ludgment. entered in this cause. but not further or

otherwise

lN WlTNESS WHEREOF, l have hereunto subscribed my name as said Clerk &
+ .
Master, on this the l g day of July. 2013.

CaSe 1214-CV-00231-CLC-WBC

 

Book 451
DOCUm€

n'?i°-Y" Filed 07/24/14 Page 23 of 25 PagelD #: 31

 

 

STATE OF TENNESSEE
COUNTY OF MAR|ON

On this the 1314 day ofJuly. 2013, before me personally appeared Levoy Guclger.
Clerk & Master, to me known to be or proved to me on the basis cf satisfactory evidence
to be the persons described in and who executed the foregoing instrumen . d who-
acknowledged that he executed the same = s his free act and deed. '

-/
4 ,M l l l'/l‘.“

Netary Pubuc

 
  
 

    

  

My commission expires: 7"/0'/9

CONSlDERATiON AF"FiDAV|'I"

l. or we, hereby swear or affirm that the actual consideration for this transfer. or value of the property or
interest in property transierred, whichever is greater is $5.000.00, which amount is equal to or greater than the
amount which the property or interest in property transferred would command at a fair and voluntary sale

 

" f":r;-., i,_' G..'~ '

BKIPG: 451[920-922

a 13002_133

g ares:AL-ci.EeksMAstEnsoEEo
§ sANDsAsArci-t;aatE nmwrs.u.o\-uzw
iii …
== FIQW“_'_EE
§ EATAS_EFE W' '_ 1650
==, smith FE§ 15.00"
§ mcnlvzl-'EE a.cc
g 2.
==-' § ers'_[ERs §§g 100
§ remit/mount "'°"'B?o
‘ MA!l 0F TIHNEBBEE. MAR|GN CQUNYV

W\NFRED HAGGARD
rimsrsnnro:ena

 

 

-3_

Case 1:14-CV-OO231-CLC-WBC DB?FL'§FFH§E‘{"!YY Filed 07/24/14 Page 24 of 25 Page|D #: 32

 

 

?"' …_ '_":":" "-EEZZL-'ZIUZ*" ‘_“: `

v l d \'=3‘%
State of Tennessee ' §§ c,§,“
Dept. ofCommerce & insurance ' d is ~°E'Bie§§~;s_=§§='
Serv|ce of Process _ ` - 5 g ,mo!‘mm.;mv saws
500 James Robertson Parkway 1 - - 02 im $ 0 . 5
Nashvme, TN 37243 - . ‘ ‘ 004292625 Jut§r §§ 4

 

?EllE_Z-llibl] DE|JE B'i'+§ 'BEB!J rrAiLEoFRor\/izipcoeearz4s

7012 mo oo¢-?-se.z:zssc 06/24/2014

LLovc's. u~oERwe Rs.-;r conch

25 west serio star ,. . ,TH FLooR v b to
NEw YoRK, mr 100'9 t

l , . .. /l(i’

 
     

4 ._.. _ ~. .~ ._ '. , ,,_-,

 

mem §zee- iiii"illi"iilli'iil'\’"""*ii'ili.ii"ii"lil"lii‘*iili'li'tbl*l' ,

C'~`-~:;z\-__.___._.-~-._.._..._..,~~.2.'_,_ _. _4_, __,. , _ M ,_ _,__4 _~ 4 4_ _

Case 11.'14-CV-OO231-CLC-WBC. Document 1-2 z Filed 07/24/14 Page 25 of 25 Page|l§) #: 33

 

 

